     Case 1:08-cv-00333-ML-JH Document 5 Filed 01/06/09 Page 1 of 8 PageID #: 23



                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND

PETER J. BIBBY

v.                                                                  C.A. NO. 08-333 ML

GLENN SPARR, ET AL.

                           REPORT AND RECOMMENDATION

Jacob Hagopian, Senior United States Magistrate Judge

        Plaintiff, Peter J. Bibby, pro se, is an inmate at the Rhode Island Adult Correctional

Institutitions ("ACI") in Cranston, Rhode Island. Plaintiff filed the current action under 42

U.S.C. § 1983 ("§ 1983") naming Glenn Sparr ("Sparr"), Daniel Schrock ("Schrock"), the Rhode

Island Superior Court Clerks (designated as John and Jane Doe) (the "RISC Clerks"), and the

State of Rhode Island as defendants (Docket # 1). Presently before the Court is Plaintiffs

motion, filed simultaneously with his complaint, to proceed in forma pauperis (Docket #2).

        This matter has been referred to me for determination; however, upon screening

Plaintiffs complaint as required by 28 U.S.C. § 1915A ("§ 1915A"), I have found that Plaintiffs

complaint fails to state a claim on which relief may be granted. Therefore, I address this matter

by way of this Report and Recommendation. For the reasons stated below, I recommend that

Plaintiffs complaint be DISMISSED and his motion to proceed in forma pauperis be DENIED.

                                       BACKGROUND

        The facts described by Plaintiff in his complaint and the exhibits attached thereto are

summarized as follows:

         On December 11, 2006, Plaintiff was arraigned before Judge Harwood of the Rhode

Island Superior Court ("RISC") for violating probation on several convictions.           At this

arraignment, the judge appointed the Rhode Island Public Defender's Office ("PDO") to
  Case 1:08-cv-00333-ML-JH Document 5 Filed 01/06/09 Page 2 of 8 PageID #: 24



represent Plaintiff for the probation violation, unaware of the PDQ's new policy not to represent

clients for probation violations in non-capital cases, such as Plaintiffs. On December 18, 2006,

Plaintiff was brought before the RISC for determination of attorney and a probation violation

hearing; however, due to the PDQ's policy, no attorney was present to represent Plaintiff.

Plaintiff requested bail, but the case was continued to December 26, 2006.

       At the December 26 th hearing, Plaintiff still had no attorney. His renewed request for bail

was denied, and Plaintiff was again remanded to the ACI. Later that day, without Plaintiff or an

attorney present, RISC Judge Lamphear denied bail. The same day, Plaintiff left a message for

Chief Judge Rodgers of the RISC requesting appointment of private counsel.                Defendant

Schrock, a private attorney, was appointed.

       Plaintiffs violation hearing was held on January 3, 2007, with Schrock representing him;

however, Schrock neither requested bail nor objected when Plaintiffs suspended concurrent

sentences were imposed as consecutive.        As a result, Plaintiff was sentenced to 90 months

instead of the 43 months remaining on the sentences subject to the probation violation.

       On March 20, 2007, Schrock withdrew from the case. Plaintiff called the PDQ to find

out why Judge Harwood had appointed a PDQ attorney initially even though the PDQ's were not

taking cases like his. He spoke with John Hardiman ("Hardiman") of the PDO, who indicated

that Chief Judge Rodgers had issued an administrative notice informing the RISC judges of the

PDQ policy and the RISC Clerks should have passed such notice to the RISC judges.

       Defendant Sparr, a private attorney who had been appointed as Plaintiffs lawyer after

Schrock withdrew, represented Plaintiff at his next court appearance on June 25, 2007. Plaintiff

had requested Sparr to subpeona Hardiman and Schrock to testify regarding (l) the failure of the

RISC Clerks to disseminate Chief Judge Rodgers' notice regarding the PDQ policy to the RISC

judges and (2) the resulting failure of the State to appoint counsel for Plaintiff at hearings on


                                                 2
   Case 1:08-cv-00333-ML-JH Document 5 Filed 01/06/09 Page 3 of 8 PageID #: 25



December 11, 18 and 26, 2006. However, Sparr did not subpoena any witnesses. Sparr also

failed to present Plaintiffs motions (i) for a new judge (based on Plaintiffs allegation that Chief

Judge Rodgers, who had failed to have the           PD~     policy passed to the other RISC judges, had a

conflict of interest) and (ii) to correct the sentence that had been erroneously imposed

consecutively rather than concurrently. At the next hearing regarding the probation violation, on

September 17, 2007, Sparr withdrew as Plaintiffs lawyer, leaving him with no lawyer to argue

when Chief Judge Rodgers reduced the sentence from 90 to 66 months, even though he had only

43 months left on the sentences subject to the probation violation.

         Plaintiff filed suit in this Court on September 8, 2008. He claims defendants violated his

constitutional rights pursuant to the 4th,       s", 6th, and   14th amendments. Specifically, he alleges

that the State violated his rights by not providing him with an attorney at the hearings on

December 11, 18 and 26, 2006 or with a bail or violation hearing within the time frame required

by Rhode Island General Law § 12-19-9. 1 He further alleges that Schrock and Sparr violated his

rights by failing to exercise due diligence, care and ordinary skill and knowledge of an average

attorney in representing his interests, and by engaging in a conspiracy with the RISC Clerks to

cover up the clerks' failure to issue the administrative order regarding the new                   PD~    policy.

Finally, he alleges that the RISC Clerks violated his rights to equal protection, bail and witnesses

by failing to disseminate the new       PD~    policy to the RISC judges. He claims that as a result of

the foregoing violations of his rights he: did not receive bail, was sentenced to 66 months rather

than the 43 months he had left to serve on his sentences, was unable to go for parole, and

suffered various damages including loss of liberty and loss of income.


I Rhode Island General Law § 12-19-9 provides that, after the attorney general has caused a person suspected of a
probation violation to appear in court, the court "may order the defendant held without bail for a period not
exceeding ten (10) days, excluding Saturdays, Sundays, and holidays. The court shall conduct a hearing to
determine whether the defendant has violated the terms and conditions of his or her probation, at which hearing the
defendant shall have the opportunity to be present and to respond." RIGL § 12-19-9 (1956).

                                                        3
     Case 1:08-cv-00333-ML-JH Document 5 Filed 01/06/09 Page 4 of 8 PageID #: 26



                                           DISCUSSION

I.      Screening Under § 1915A and § 1915(e)(2)

        Section 1915A directs the Court to screen prisoner complaints against a governmental

entity, officer or employee before docketing or soon thereafter to identify cognizable claims, and

requires the Court to dismiss the complaint if it "(1) is frivolous, malicious, or fails to state a

claim upon which relief may be granted; or (2) seeks monetary relief from a defendant who is

immune from such relief." 28 U.S.C. § 1915A(b). Similarly, 28 U.S.C. § 1915(e)(2) instructs the

Court to dismiss the case of a person proceeding in forma pauperis for identical reasons. 28

U.S.C. § 1915(e)(2).

        Here, the issue is whether plaintiffs complaint states claims for which relief may be

granted from defendants who are not immune. In making this determination, the Court must

accept plaintiff s allegations as true and construe them in the light most favorable to plaintiff,

although the Court need not credit bald assertions or unverifiable conclusions. United States v.

AVX Corp., 962 F.2d 108, 115 (1 sl Cir. 1992). Further, the Court must review pleadings of a pro

se plaintiffliberally. Estelle v. Gamble, 429 U.S. 97, 106 (1976). To state a claim for relief, a

pleading must contain factual allegations that "raise [plaintiff s] right to relief above the

speculative level" and "give the defendant fair notice of what the ... claim is and the grounds

upon which it rests".    Bell Atlantic Corp. v. Twombly, 127 S.Ct. 1955, 1959 (2007) (quoting

Conley v. Gibson, 355 U.S. 41, 47 (1957»; Fed.R.Civ.P. 8(a)(2).

        Plaintiff has brought this action under 42 U.S.C. § 1983. In order to maintain a § 1983

action, the conduct complained of must have (l) been committed by a person acting under color

of state law and (2) deprived the plaintiff of a constitutional right or a federal statutory right.

Gomez v. Toledo, 446 U.S. 635,640, 100 S.Ct. 1920 (1980).         As discussed below, I find that

defendants are not subject to suit in this § 1983 action.


                                                  4
      Case 1:08-cv-00333-ML-JH Document 5 Filed 01/06/09 Page 5 of 8 PageID #: 27



II.       State of Rhode Island Not a "Person" Under § 1983

         In Will v. Michigan Dep't of State Police, 491 U.S. 58, 71 (1989), the United States

Supreme Court held that a State is not a "person" as that term is used in § 1983, and thus is not

susceptible to suit under § 1983. Accordingly, I recommend that the action against the State of

Rhode Island be DISMISSED for a failure to state a claim.

III.     Appointed Counsel: No Action Under Color of State Law

         Plaintiff names Schrock and Sparr as defendants for their "actions under the color of state

law."     Docket # 1, at 2. However, Schrock and Sparr are private attorneys who had been

appointed by the court to represent Plaintiff. It is well established that the appointment of a

private attorney by the court to represent a defendant in a criminal proceeding does not convert

the private attorney's actions into acts "under color of state law" or state-law malpractice claims

into constitutional claims subject to § 1983 liability. See Malachowski v. City ofKeene, 787 F.2d

704, 710 (1st Cir. 1986)(court-appointed private attorney does not act under color of state law for

purposes of § 1983), cert. denied, 479 U.S. 828 (1986).

         Nonetheless, a private party's actions can be construed as "under color of state law" if:

(I) his conduct is "fairly attributable to the state", Lugar v. Edmonson Oil Co., 457 U.S. 922, 937

(1982); (2) he is exercising government powers or representing the interests of the state, see

NCAA v. Tarkanian, 488 U.S. 179, 196 (1988); or (3) he conspires with a state official to deprive

another of federal rights, see Tower v. Glover, 467 U.S. 914, 916 (1984); Dennis v. Sparks, 449

U.S. 24, 27-28 (1980). Here Plaintiff suggests that Schrock and Sparr conspired with the RISC

Clerks to cover up the RISC Clerks' failure to disseminate the new        PD~   policy to the RISC

judges. Complaint, at 3-4. Plaintiffs claim of a conspiracy, however, is based solely on bald

assertions and unsubstantiated conclusions of the type a court need not credit. See A VX Corp.,




                                                  5
  Case 1:08-cv-00333-ML-JH Document 5 Filed 01/06/09 Page 6 of 8 PageID #: 28



962 F.2d at 115. His Complaint includes only limited references to the alleged conspiracy. With

respect to Schrock, Plaintiff states only:

       "Due to Daniel Schrock [sic] conspiracy with the Jane and John Doe state actors
       in the Superior Court, he intentionally failed to raise my issues, knowing that by
       not arguing with the judge and prosecutor when they wanted to reinstate my
       concurrent sentences consecutive [sic] I would be given a pro-longed sentence."

Complaint, at 4. With respect to Sparr, Plaintiff similarly alleges:

       "Due to the negligent acts of the State of Rhode Island thru its employees, my
       attorney Glenn Sparr conspired with them in an attempt to hide mistakes,
       knowing that by delaying I would be forced to take a deal. .. Glenn Sparr knew by
       denying me the right to witnesses that I would have no way to point the 'clerks'
       errors to the state."

Complaint, at 3. Alternatively, Plaintiff contends that Sparr failed to present his motions to

vacate or correct his sentence and for a new judge as a result of a conspiracy with the "clerks and

attorney generals ... all do [sic] to [Sparr's] effort to protect the court from there [sic]

inappropriate actions thru criminal conspiracy in violation of 18 USCS-241-242." Complaint,

attachment #1, at 6.

       Although there is no heightened pleading requirement for allegations of a conspiracy in a

civil rights action, Educadores Puertorriquenos en Accion v. Hernandez, 367 F.3d 61 (l st Cir.

2004), a complaint must raise the allegations above the speculative level, Twombly, 127 S.Ct. at

1959. Here, plaintiffs conclusory allegations, without any details or explanation regarding an

agreement between the attorneys and the RISC Clerks, fail to allege sufficient facts to raise the

allegations of a conspiracy above the speculative level. See, e.g., Ellibee v. Fox, 244 Fed.Appx.

839, 843 (lOlh Cir. 2007)("[w]hen a plaintiff in a § 1983 action attempts to assert the necessary

'state action' by implicating state officials or judges in a conspiracy with private defendants,

mere conclusory allegations with no supporting factual averments are insufficient; the pleadings

must specifically present facts tending to show agreement and concerted action")(citation



                                                 6
   Case 1:08-cv-00333-ML-JH Document 5 Filed 01/06/09 Page 7 of 8 PageID #: 29



omitted); Fisher v. Lynch, 531 F.Supp.2d 1253, 1264 (D.Kan. 2008)(complaint failed to allege

sufficient facts of conspiracy between private lawyer and court-appointed mediator to convert

private lawyer's actions into actions under color of state law, despite factual allegations of

extended telephone conversations between the lawyer and mediator and filing of an ex parte

motion by private lawyer seeking to appoint mediator as case manager).

         As a result, Plaintiff has not alleged any conduct that would satisfy a claim for relief

under § 1983 against Defendants Schrock and Sparr. I therefore recommend that the action

against these court-appointed private attorneys be DISMISSED.

IV.      The RISC Clerks: Negligence Not Arise to Constitutional Deprivation

         Plaintiff states in his complaint that the RISC Clerks denied his right to due process by

failing to exercise "due care" to inform Judge Harwood of the PDQ's new policy.' Complaint, at

3. In Daniels v. Williams, the United States Supreme Court ruled that "the Due Process Clause is

simply not implicated by a negligent act of an official causing unintended loss of or injury to life,

liberty, or property." 474 U.S. 327, 328 (l986)(emphasis added). The Supreme Court reasoned

that the Due Process Clause was intended to protect individuals from an abuse of power by the

government rather than the failure of a government official to measure up to the conduct of a

reasonable person. Id. at 331-332. As plaintiffs complaint against the RISC Clerks is merely

one of negligence, it does not support a § 1983 claim for violation of due process protections.

2Plaintiff claims the RISC Clerks denied his 6 th Amendment right to an attorney, equal protection and his right to
bail and witnesses at hearings on December 11, 18 and 26, 2006 because the RISC judges were unaware of the new
PDO policy. The 6 th amendment right to counsel and other fundamental due process rights are binding on the state
as procedural due process rights guaranteed by the 14th Amendment. Danforth v. Minnesota, 128 S.Ct. 1029, 1035
(2008)(citing Gideon v. Wainwright, 372 U.S. 335 (1963». However, persons subject to probation revocation
hearings, which are by nature civil rather than criminal, are not afforded the full panoply of due process rights.
Gagnon v. Scarpelli, 411 U.S. 778, 782 (1973); Morrissey v, Brewer, 408 U.S. 471, 480 (1972). The 6th
Amendment right to counsel at a probation revocation hearing is absolute, but is determined on a case by case basis.
Gagnon v. Scarpelli, 411 U.S. 778, 788-791 (1973). Additionally, the rights to receive bail and confront witnesses
at probation revocation hearings are not absolute.   u.s.  v. Rondeau, 430 F.3d 44, 47-48 (151 Cir. 2005);   u.s.  v.
Acevedo-Ramos, 755 F.2d 203, 206 (15t Cir, 1985). No inquiry need be made into plaintiffs rights to counsel, bail
and witnesses in the instant matter, however, because, as discussed herein, his claim that the RISC Clerks' mistakes
led to the deprivation of these procedural rights does not support a § 1983 claim for procedural due process
violations. See Daniels v. Williams, 474 U.S. 327, 328 (1986).

                                                            7
   Case 1:08-cv-00333-ML-JH Document 5 Filed 01/06/09 Page 8 of 8 PageID #: 30



        Additionally, although he does not allege any actions taken by the RISC Clerks to carry out

a conspiracy, to the extent Plaintiff has sued the RISC Clerks for any intentional actions related to

an alleged conspiracy with Schrock and Sparr, such claims also fail. As discussed above, Plaintiff

has presented no allegations that raise his bald assertions of a conspiracy above a speculative level,

and, thus, the Court need not credit such allegations.          See Twombly, 127 S.Ct. at 1959.

Accordingly, I recommend that the action against the RISC Clerks be DISMISSED for failure to

state a claim upon which relief may be granted.

                                          CONCLUSION

        Plaintiff has failed to make claims upon which relief may be granted under § 1983. He

names the State of Rhode Island, but a State is not a person under § 1983. Plaintiff names Schrock

and Sparr as defendants without alleging facts that would render their conduct as private attorneys

action under the color of state law. He claims the RISC Clerks negligently violated his due process

rights, but his allegations of negligence, without more, committed by state actors do not support §

1983 due process violations claims.        Consequently, I recommend that plaintiffs action be

DISMISSED without prejudice and plaintiffs motion to proceed in forma pauperis be DENIED.

        Any objection to this Report and Recommendation must be specific and must be filed with

the Clerk of Court within ten days of its receipt. Fed R. Civ. P. 72(b); LR Cv 72(d). Failure to file

timely, specific objections to this report constitutes waiver of both the right to review by the

district court and the right to appeal the district court's decision. United States v. Valencia-Copete,

792 F.2d 4 (I" Cir. 1986) (per curiam); Park Motor Mart, Inc. v. Ford Motor Co., 616 F.2d 603

(l st Cir. 1980).

    QJ ,..t '-
Jacob Hagopian
Senior United States Magistrate Judge
January 6, 2009


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